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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



IN RE: PROCESSED EGG PRODUCTS
ANTITRUST LITIGATION
                                                   MDL Docket No. 2002
                                                   08-md-02002
This document relates to:

ALL DIRECT PURCHASER ACTIONS




                    DIRECT PURCHASER PLAINTIFFS’ MOTION
                TO PAY COSTS OF SETTLEMENT ADMINISTRATION


       Pursuant to the Settlement Agreement between the Direct Purchaser Plaintiffs

(“Plaintiffs”) and Defendants Moark, LLC, Norco Ranch, Inc., and Land O’Lakes, Inc.

(collectively, “Moark”) (“Moark Settlement Agreement”) (Doc. Nos. 465-3, 699-700), this

Court’s Orders of August 16, 2012 (Doc. No. 727) and November 9, 2012 (Doc. No. 761), and

for the reasons set forth in Plaintiffs’ Memorandum of Support of this Motion, Plaintiffs hereby

request that the Court approve a distribution of $234,823.00 from the Settlement Fund to the

Court-approved claims administrator, Garden City Group (“GCG”), for fees and expenses

incurred in connection with the administration of the Moark Settlement Agreement.

       A proposed Order is attached hereto.
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DATED: May 29, 2013                 Respectfully submitted,


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